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                   EXHIBITS
            TO BE DOCKETED SEPARATELY
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                              Commonly Asked Questions

                              What percentage of the undergraduate student
                              population seeks mental health counseling at Yal~
                              Health?
                              One-half of all undergraduates obtains mrnnl lic.1ldi
                              counseling from Yale Health at some µoint during their
                              four years at Yale.

                              Does Yale Health Basic Coverage (provided as part of my
                              tuition) cover the services of Yale Health's Mental Health
                              & Counseling Department?
                              Yes. EYcry enrolled, full-time Yale student can o_cccss
                              the services of Mental Health & Counseling free of
                              cbarge rcg:1rdlcss of his or her insurance plan

                              What if I feel my therapist is not a good match for me?
                              You may ask to change therapists.
                                                                                                                                                                                     Yale Health
                              Where is Mental Health & Counseling located?                                                                                                           Mental Health & Counseling
                                                                                                                                                                                     55 Lock Street
                              At Yale Health Center, 55 Lock Street, on the
                                                                                                                                                                                     P.O. Box 208237
                              third floor.
                                                                                                                                                                                     New Haven, CT 06520-8237

                              1±1                                                                                                                                                    203432 0290
                              Information discussed with a mental health
                                                                                                                                                                                     Monday through Friday
                              counselor is held in the strictest confidence.
                                                                                                                                                                                     8:30am - 5:00pm


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                                                                                                                                                                                     After hours and on weekends,
                                                                                                                                                                                     emergency care ls available
                                                                                                                                                                                     through the Acute Care
                  ."./                              \,.\                '.~ \                                                 I
                                                                                                                                                                                     Department 203 432 0123

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                                                                                                                                                                                     S.H.A.R.E. Center

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About Mental Health                                               Services                                                    Confidentiality
& Counseling                                                      INDIVIDUAL THERAPY                                          Everything discussed with a mental health clinician is
The Mental Health & Counseling Deparrment at Yak                  Individual rherapy consi,ts of weekly one-on-one            held in stricresr confidence and is nor commLmicated
Health is committed to providing care for the mental             sessions. Each therapy session is usually 45 minutes long.   to anyone without your permission, except in the rare
health concerns of undergraduate, graduate and                    The therapy is on a short-term basis.                       instance of a life-threatening situation.
professional school stndents. There is a diverse staff
                                                                  COUPLES THERAPY
of mental health professionals including psychiatrists,
                                                                  Couples therapy is available for student couples provided
clinical psycho logiscs and clinical social workers.                                                                          Online Screenings
                                                                  that both partners are Yale Health members covered
1±1Every enrolled full-time student is eligible for                                                                           Yale Health offers free anonymous and confidential
                                                                  under the student plan.
services, as are those spouses and civil union partners                                                                       online screenings to all Yale students. Available
who are Yale Health members.                                      GROUP THERAPY                                               screenings include :
                                                                  Group therapy is an opportunity to meet with four to
There is no cost for these services. Strict standards of
                                                                  six other students with a therapist to share and discuss          depression
confidentiality are always maintained. The offices arc
                                                                  concerns in a confidential, safe environment.                     anxiccy
located on the third floor of the Yale Health Center.
                                                                  Groups meet once a week typically for between six to              eating disorders
                                                                  twelve weeks.                                                     alcohol misuse
THE FIRST VISIT
                                                                                                                                    post-traumatic stress disorder
Appointments for an initial consultation can be made              MEDICATION
by phone (203 432 0290) or in person, Monday                      Medication is prescribed when appropriate in the context
                                                                                                                              To access the screening, visit www.yalchcalth.yalc.cd11.
through Friday, 8:30 am-5:00 pm. Appointment                      of ongoing treatment.
times for the initial visit a.re generally available within
two or three days, and can be set up the same day in
                                                                                                                              S.H.A.R.E.Center
urgent situations. During the initial consultation, you
can discuss your concerns and treatment options with                                                                          SEXUAL HARASSMENT & ASSAULT
                                                                  Students seek counseling for many different reasons,
a mental health professional.                                                                                                 RESPONSE AND EDUCATION
                                                                  including:
                                                                                                                              Counselors are available to talk or meet with you 24/7
WHAT COMES NEXT                                                   academic stress              loss and grief                 by calling 203 432 2000. or Acute Care at 203 432 0123.
If you decide to begin a course of treatment, you will
                                                                  adjustment difficulties      obsessions         •           1±1  If you are assaulted, you are encouraged to come
be matched with a therapist who will contact you by
                                                                  alcohol/drug use             parental divorce               in for emotional support and medical attention.
phone to set up the next appointment.
                                                                  anxiety                      relationships:                 Crisis counseling is available at the time of the event
EMERGENCY & AFTER HOURS CARE                                                                    family                        or at any time thereafter. For more information and
                                                                  body image Issues
                                                                                                friends
1±1 Care is available 24/7 throughout the entire year.                                                                        resources visit ww111.yalel1ealtlt.yale.cdu.
                                                                  competition concerns          romantic
Mental health professionals are available 24/7 for                                              roommates
                                                                  compulsions
emergency and urgent situations. Monday through                                                self-esteem issues
                                                                  depression
Friday from 8:30 am-5:00 pm call 203 432 0290 or                                               sexua I concerns
                                                                  eating concerns
come into the clinic in person. Evenings after 5 pm,
                                                                                               sexual orientation and
weekends, and holidays call 203 432 0123 or come                  family or personal illness
                                                                                               identity
into Acute Care and ask for the Mental Health &                   gay/lesbian/bisexual/
Counseling clinician on call.                                     transgender issues
                                                                                               traumatic experiences
                                                                                                                              call 203 432 0290
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Case 3:13-cv-01890-CSH Document 37-1 Filed 06/06/14 Page 1 of 2




               NOTICE
               TO THE EMPLOYEES OF
                                  Yale University




In accordance with §3 l-48d of the Connecticut General Statutes,
  this will serve as notice th.at this employer may engage in the
    following types of Electronic Monitoring of employees'
                        activities or communications;

                     [K] Telephone
                     IKJ Camera (including hidden cameras)
                     !Kl Computer
                     [KJ Radio
                     !Kl Wire
                     [KJ Electromagnetic
                     ~ Photoelectronic
                     [KJ Photo-optical
                         Other
                                     ---------
                If you have any questions regarding this notice,

                contact   I    Department of Human Resources
                                    (Compaoy Representative)
                for additional information.




       The Connecticut Department of Labor provides this sample poster as a public service.
  Wage & Workplace Standards Division 200 Folly Brook Boulevard Wethersfield, CT 06109-1114
                    A copy of§ 3 l-48d ET. Seq. CGS appears on the reverse.
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     Case 3:13-cv-01890-CSH        Document 37-1 Filed 06/06/14 Page 2 of 2




  Sec. 31-48d. Employers engaged in electronic monitoring required to give
prior notice to employees. Exceptions. Civil penalty. (a) As used in this section:
                      0
  (I) "Emp1oyer means any person, firm or corporation. including the sf,ate and any
politi~al subdivision of the state which has employees;
        (
  (2)   ..Employee" means any person who performs services for an employer in a
business of the employer I if the employer bas the right to contr~l and direct the person
as to (A) the result to be accomplished by the services, and (B) the details and means
by which such result is accomplished; and
   (3)· ''Electronic monitoring" means the collection of information on an employer· s
premises concerning employees' activities or communications by any means other than
direct observation. including the use of a computer, telephone, wire, radio, camera,
electromagnetic, photoelectronic or photo-optical systems, but not including the collec~
tion of infonnation (A) for security purposes in common areas of the employer's prem-
ises which are held out for use by the public. or (B) which is prohibited under state or
federal law.

  (b) (1) Except as provided in subdivision (2) of this subsection, each employer
who engages in any type of electronic monitoring shall give prior written notice to all
employees who may be affected, informing them of the types of monitoring which may
occur. Each employer shall post, in a conspicuous place which is readily available for
viewing by its employees, a notice concerning the types of electronic m<>nitoring which
the employer may engage in. Such posting shall constitute such prior written notice.
  (2)       When (A) an employer has reasonable grounds to believe that employees are
engaged in conduct which (i) violates the law, (ii) violates the legal rights of the employer
or the el!1ployer' s employees~ or .(iii) crea.tes a hostile workplace environment. and (B)
electronic monitoring may produce evidence of this misconduct. the employer may
conduct mc;,nitoring without giving prior written notice.
  (c) The Labor Commissioner may levy a civil penalty against any persQn that the
commissioner finds to be in violation of subsection (b) of this section, after a hearing
conducted in accordance with sections 4-l 76e to 4-184. inclusive. The maximum civil
penalty shall be five hundred dollars for the first offense. one thousand dollars for the
second offense and three thousand dollars for the third and each subsequent offense.
   (d) The provisions of this section shall not apply to a criminal investigation. Any
infonnation obtained in the course of a criminal investigation _through the use of elec-
tronic monitoring may be used in a disciplinary proceeding against an employee.
   (P.A. 98--142.)
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8/27/2020                                                          Mental Health & Counseling I Yale Health



        Yale University




            COVID-19
            COVID-19 cases are occurring in our area. If you are sick, stay home and call
            your primary care provider, they will get you the care you need. We now offer
            video and telephone visits.

            Visit the COVID-19 information pages for members or students.




       Yale HEALTH
      Home > Directory > Departments > Mental Health & Counseling




               Mental Health & Counseling
                Contact and Hours
                Phone:203-432-0290

                Fax: 203-432-8458

                Hours: Monday-Friday 8=30 am - 5:00 pm. For urgent concerns after hours, call
                Acute Care 203-432-0123.


                Location: 3rd Floor


                Appointment Information
https://yalehealth.yale.edu/directory/departments/mental-health-counseling                                    1110
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8/27/2020                                                          Mental Health & Counseling I Yale Health

                Following the brutal killing of George Floyd we affirm our commitment to our black
                community and we stand in solidarity against systemic racism and racial injustice.
                Yale Mental Health and Counseling is committed to do our part to create an

                environment that opposes racism and promotes an inclusive environment that is
                free of hate. We are aware of the real psychological impacts of racism as well as
                how George Floyd's killing evokes the traumatic history of many similar instances
                that stain our country's history.

                COVI D-19 Student Information (https://yalehealth.ya le.edu/covid-19-student-
                i nformation)

                Appointments for an initial consultation can be made by phone or in person during
                office hours. You will be offered an initial appointment (approximately within a
                week, longer during the months of September and October).

                Following this initial appointment, most students are connected with their
                therapist within a couple of weeks.

                In urgent situations, any student can speak with an on-call clinician 24 hours per
                day, 365 days a year (daytime through Mental Health & Counseling at 203-432-
                0290 and after hours through Acute Care 203-432-0123).

                All Yale students enrolled at least half time in a Yale degree program are eligible for
                counseling at Mental Health & Counseling completely free of charge regardless of
                whether they have waived Yale Health Hospitalization/Specialty Care coverage.
                Spouses and civil union partners are eligible for services if they are enrolled in the
                Yale Health plan as a dependent.


                About
                Yale Health Mental Health & Counseling provides free, confidential mental health
                treatment to members of the Yale student community. We offer a wide range of
                services including indiviual therapy, group therapy, and medication consultations
                and management.

                We have a long history of providing quality treatment to Yale students and
                understand the challenges facing students today. We partner with you to
                understand the issues you are facing and to develop a plan for treatment that will
                help you gain the insight and skills to thrive at Yale.




https://yalehealth.yale.edu/directory/departments/mental-health-counseling                                    2/10
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8/27/2020                                                           Mental Health & Counseling I Yale Health




                              Some information about Mental Health & Cou ...




                                                          a

                Your First Visit
                During your first visit will you have the chance to speak to one of our clinicians
                about your main concerns, your history and your goals for treatment. After
                discussing your preferences and your treatment options, the two of you will make
                a plan to begin treatment at Mental Health & Counseling.



                Your Clinician
                If you decided to seek individual treatment, you will be matched with a clinician
                who will call or email you to schedule an appointment.

                Our clinicians are clinical psychologists, clinical social workers, and psychiatrists
                who are skilled in diverse treatment approaches including cognitive behavioral
                therapy, dialectical behavioral therapy, interpersonal psychotherapy, and
                psychodynamic therapy.

                Mental Health & Counseling primarily offers short-term therapy. Most students
                come for an average of six to eight visits and this meets the needs of the majority
                of students. However, there are no specific visit limits, and students are seen
                based on their individual needs.

                If you would like to switch therapists please call 203-432-0290 and leave a
                message advising that you would like to change to a different therapist. Your
https://yalehealth .yale.edu/directory/departments/mental-health-counseling                                    3/10
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8/27/2020                                          Mental Health & Counseling I Yale Health
                newly assigned therapist will call you directly to schedule your first appointment.



                Group Therapy
                If you decided to seek group therapy, our group coordinator will reach out to you
                to determine your availability and get you started with a group. Most groups meet
                weekly and last for approximately one semester.

                We offer a variety of different groups, read more about our group therapy options
                here. (/group-therapy)



                Medication Consultations and Management
                Our team of psychiatrists are available if medication is part of your treatment.
                They provide consulations and on-going medication management. This may be in
                conjunction with individual therapy, group therapy, or on its own.




                Our Staff
                Director




                Paul Hoffman, PhD

                ((d irectory/djnjcia
               filLgaul-hoffman-
                Rhdl


                Manager




https://yalehealth.yale.edu/directory/departments/mental-health-counseling                            4/10
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        Yale University




             COVID-19
             COVI D-19 cases are occurring in our area. If you are sick, stay home and call
            your primary care provider, they will get you the care you need. We now offer
            video and telephone visits.

            Visit the COVI D-19 information pages for members or students.




       Yale HEALTH
       Home > More > Confidentiality at Yale Health




                 Confidentiality at Yale Health
                Your medical records are strictly confidential, stored in a restricted area and
                 available only to individuals involved in your care and authorized administrative
                 personnel on a need-to-know basis. No one else is authorized to obtain
                 information from your records without your written consent, provided that you
                 are 18 years old or over.

                 Mental Health records for students (except for those involving inpatient care
                 admissions) are kept in the Mental Health & Counseling Department and filed
                separately from other medical records. They are available only to appropriate
                 mental health personnel. These records are not released to anyone-including
                other Yale Health clinicians or administrative personnel-without your permission
                (Authorization for Release of Mental Health Record
https://yalehealth.yale.edu/more/confidentiality-yale-health                                                 1/3
8/27/2020               Case 3:20-cv-00991-JCH Document
                                                Confidentiality17    Filed
                                                                at Yale Health08/28/20
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                 (https://yale.box.com/shared/static/p2skgqki7lyhw0b0ol4nkucqke2mso38.pdf) ).

                 Information from your medical record and from providers or hospital incidents will
                 not be disclosed without your written consent except for the purposes of
                 providing health care to the patient, administering Yale Health coverage, or as
                 authorized by law

                 If you are over 18 and wish to give your parents the authorization to speak with
                 your primary care clinician or receive your health information you need to
                 compl ete and sign the Designation of Patient Spokesperson Form
                 (https://yale.box.com/shared/static/m2a59vvs60c1qslzi9crep3dxtqw0a1a.pdf) provided by
                 the Health Information Management Department and return it to the Health
                 Information Management Department.

                 Without receipt of this completed form parents or any other persons will not have
                 access to your health information. But keep in mind that if you have alternate (non-
                 Yale Health) hospitalization coverage, bills or explanations of benefits may be sent
                 to your home address where family members could see them.




       Yale Health
       55 Lock Street
       P.O. BOX 208237
       New Haven, CT 06520-8237

       Directions and Parking

       Acute Care 203 432 0123
       Member Services 203 432 0246




       Hours
       8:30 A.M. to 5:00 P.M.
       Unless otherwise noted
       See all hours
       See all departments



       Quick Links

https://yalehealth.yale.edu/more/confidentiality-yale-health                                                 2/3
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       Contact Us                                                             Privacy

       Announcements                                                          Accreditation

       Forms                                                                  Nondiscrimination Notice

       Patient Rights                                                        Translation Services

       Patient Safety                                                        Sitemap

       Accessibility at Yale


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https://yalehealth.yale.edu/more/confidentiality-yale-health                                                 3/3
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Yale HEALTH
     Notice of Privacy Practices
 This notice describes how medical                             may be of interest to you. We may also contact you to
                                                               support our fundraising efforts. It is always your choice to opt
 information about you may be used and
                                                               out of receiving fundraising communications from us.
 disclosed and how you can get access to this                        We may use or disclose medical information about
 information. Please review it carefully. If                   you without your prior authorization for several other
 you have any questions, please contact our                    reasons. Subject to certain requirements, we may give our
 privacy office at the phone number at the                     medical information about you, without prior
 bottom of this notice.                                        authorization for public health purposes, abuse or neglect
                                                               reporting, health oversight audits or inspections, medical
 Our pledge to you:                                            examiners, funeral atTangements and organ donation,
      We understand that medical information about you is      workers' compensation purposes, emergencies, national
 personal. We are committed to protecting medical              security and other specialized government functions, and
 information about you. We create a record of the care and     for members of the Armed Forces as required by Military
 services you receive to provide quality care and to           Command authorities. We also disclose medical
 comply with legal requirements. This notice applies to all    information when required by law, such as in response to
 of the records of your care generated by any of the           a request from law enforcement in specific circumstances,
 separate facilities and providers described below. We are     or in response to valid judicial or administrative orders or
 required by law to:                                           other legal process.
     CTl Keep medical information about you private;                Under certain circumstances, we may use and
                                                               disclose health information about you for research
     CTl Give you this notice of our legal duties and
         privacy practices with respect to medical             purposes, subject to a special approval process. We may
         information about you; and                            also allow potential researchers to review information
                                                               that may help them prepare for research, so long as the
     CTl Follow the terms of the notice that is currently in
                                                               health information they review does not leave our
         effect.
                                                               facility, and so long as they agree to specific privacy
How we may use and disclose                                    protection. For more information on research and how to
medical information about you:                                 opt out ofresearch use of your records see
     We may use and disclose medical information               www.ya lcstudics.ona or 1-877-978-8343.
about you without your prior authorization for                      If admitted as an inpatient, unless you tell us otherwise,
treatment, such as sending medical information                 we will list in the patient directory your name, location in the
about you to a specialist as part of a referral (this          hospital, your general condition (good, fair, etc.) and your
includes psychiatric or HIV information if needed              religious affiliation, and may release all but your religious
for purposes of your diagnosis and treatment); to              affiliation to anyone who asks about you by name. Your
obtain payment for treatment, such as                          religious affiliation may be disclosed only to clergy members,
sending billing information to your insurance                  even if they do not ask for you by name.
company or Medicare; and to support our healthcare                    We may disclose medical information about you to a
operations, such as comparing patient data to                   friend or family member whom you designate or in
improve treatment methods or for professional                   appropriate circumstances, unless you request a restriction.
education purposes (Note: only limited psychiatric or           We may also disclose information to disaster relief authorities
HIV information may be disclosed for billing                    so that your family can be notified of your location and
purposes without your authorization). If you are                condition.
treated in a specialized substance abuse program,                     Other uses of Medical Information:
your special authorization is required for most                       In any other situation not covered by this notice,
disclosures other than emergencies. Other examples              including the use or disclosure of psychotherapy notes, we
of such uses and disclosures include contacting you             will ask for your written authorization before using or
for appointment reminders and telling you about or              disclosing medical information about you. If you choose to
recommending possible treatment options,                        authorize use or disclosure, you can later revoke that
alternatives, health-related benefits or services that          authorization by notifying us in writing of your decision.
                                                                                                  CONTINUED ON REVERSE STDE
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Who will follow this notice?
      Yale Health, Yale New Haven Health System (YNHHS) and Yale School of Medicine (YSM) facilities provide health
 care to our patients in partnership with other professionals and healthcare organizations. The information privacy practices in
 this notice will be followed by:
     •   Any healthcare professional who treats you at any of our locations
     •   All departments and affiliated covered entities of Yale New Haven Health System, including; Bridgeport Hospital,
         Greenwich Hospital, Northeast Medical Group, and Yale-New Haven Hospital
     •   Yale School ofMedicine
     •   The clinical care providers of Yale School ofNursing as well as their affiliates
     •   All employees, medical staff, affiliates, trainees, students, or volunteers of the entities listed above
     While each of these facilities and affiliates operates independently, they may share your health infmmation for
 coordination of care, treatment, payment, and healthcare operations purposes.

 Right to Be Notified of a Breach:

     We will notify you in the event that the confidentiality of your information has been breached.

 Right to Access and or Amend Your Records:
      In most cases, you have the right to look at or get a copy of medical information that we use to make decisions about your
 care. All requests for copies or access must be submitted in advance, in writing. If your request for inspection is granted, we
 will arrange for a convenient time and place for you to look at your record. If you request copies, we may charge a fee for the
 cost of copying, mailing, or other related supplies. Ifwe deny your request to review or obtain a copy, you may submit a
 written request for a review of that decision.
      If you believe that information in your record is incorrect or that important infonnation is missing, you have the right to
 request that we correct the records, by submitting a request in writing that provides your reason for requesting the amendment.
 We could deny your request to amend a record if the information is not maintained by us; or ifwe determine that your record is
 accurate. You may submit a written statement of disagreement with a decision by us not to amend a record.
 Right to an Accounting:
     You have the right to request a list accounting for
 any disclosures of your health information we have made, as required by law.
     To request this list of disclosures, indicate the relevant period which must be after April 14, 2003, but in
 no event for more than the last six years. You must submit your request in writing to the Medical Record or Billing Department
 as appropriate.


Right to Request Restrictions:
    You may request, in writing, that we not use or disclose medical information about you for treatment, payment or
healthcare operations or to persons involved in your care except when specifically authorized by you, when required by law, or
in an emergency. We will consider your request and work to accommodate it when possible, but we are not legally required to
accept it unless all of the conditions below are met:
     • You request that your information is not shared with an insurer for purposes of payment or other purposes unrelated to
         your treatment;
     • You pay all charges associated with the services you received out-of-pocket in full; and
     • We are not required by law to release your information to the insurer.

We will inform you of our decision on your request. All written requests or appeals should be submitted to our
Privacy Office listed below.

Requests for Confidential Communications:
    You have the right to request that medical information about you be communicated to you in a confidential manner, such
                                                                                                                         CONTINUED
                                                                                                                       Effective July 1. 2015
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as sending mail to an address other than your home, by notifying us in writing of the specific way or location for us to use to
communicate with you.
Right to request a paper copy of this Notice:
     You may receive a paper copy of this Notice from us upon request, even if you have agreed to receive this notice
electronically.
Changes to this Notice:                                                                                                             •
    We may change our policies at any time. Changes will apply to medical information we already hold, as well as new
information after the change occurs. Before we make a significant change in our policies, we will change our notice and post
the new notice in waiting areas, exam rooms, and on our Web site at yalehealth. yale.edu. You can receive a copy of the current
notice at any time. The effective date is listed at the end. Copies of the current notice will be available each time you come to
our facility for treatment. You will be asked to acknowledge in writing your receipt of this notice.
Complaints:
    lf you are concerned that your privacy rights may have been violated, or you disagree with a decision we made about
access to your records, you may contact our Privacy Office listed below.

    If you are not satisfied with our response, you may send a written complaint to the U.S. Department of Health and Human
Services Office of Civil Rights. Our Privacy
Office can provide you the address. Under no circumstances will you be penalized or retaliated against for filing a complaint.

                                                    Yale University HIPAA
                                                        Privacy Office
                                                         203.432.5919
                                                        hipaa@yale.edu




                                                                                                                          CONTINUED
                                                                                                                        EITeclive July I. 2015
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Yale HEALTH
     Mental Health Counseling   &
             PO Box 20823 7
             New Haven, CT 06520-8237
             Phone: 203-432-0290 Fax: 203-432-8458


         AUTHORIZATION FOR RELEASE OF MENTAL HEALTH RECORD
                                      (Also known as Protected Health Information)

PATIENT NAME                                                                     Date of Birth - - - -- - -
                       -------------------
Address (Mailing) _ _ __ _ _ _ _ _ _ _ _ _ __                                    Phone - -- - - -- - - -


I authorize Yale Health Department of Mental Health & Counseling to use or disclose information from my mental
health record, which may include information about psychiatric diagnosis and treatment and substance abuse issues
to:

Name:~-- -- - - - - - - - - - - - - - - Phone _ _ _ _ _ _ __ _ _ __
Address:- - -- - - - -- - - - - - - - --                        FAX



Dates of Treatment: _ _ _ _ ________________________ _


Information to be released (Please describe) _ _ _ _ __ _ __ _ _ _ _ _ __ _ __


Purpose of Disclosure _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ __


    I.   J understand that, unless withdrawn, this authorization will expire 180 days from the date of signature. A photocopy of
         this form will be considered as valid as the original.
    2.   I understand that I may revoke this authorization at any time by notifying the Department of Mental Health &
         Counseling at the address indicated above, in writing, and this authorization will cease to be effective on the date
         notified except to the extent action has already been taken in reliance upon it.
    3.   I understand that information used or disclosed pursuant to this authorization may be subject to re-disclosure by the
         recipient and no longer be protected by Federal privacy regulations. However, other state or federal law may prohibit
         the recipient from disclosing specially protected information, such as substance abuse treatment information and
         mental health information.
    4.   I understand that my refusal to sign this Authorization will not jeopardize my right to obtain present or future
         treatment for psychiatric disabilities except where disclosure of the information is necessary for the treatment.
    5.   My health care and payment for my health care at Yale Health Center will not be affected ifI do not sign this form.
    6.   J understand that J can request a copy of this form after I sign it.
    7.   I understand that in compliance with CT general statute, I will pay a fee of $0.65 per page.

By signing below, I acknowledge that I have read and understand this Authorization.

_ _ _ _ _ _ _ _ _ _ _ _ ________ OR _ _ __ _ _ _ __ _ __ _ _ __
Signature of Patient                         Date           Parent/Legal Guardian/Authorized Person           Date


                                                                  Relationship to Patient


                                                                                                                       Rev. 1/11
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    4.   In the event of a major disaster, epidemic, or circumstances not reasonably within the control of
         Yale Health, Yale Health shall provide services insofar as practical, according to its best
         judgment, within the limits of its facilities and staff. In this event, Yale Health shall have no
         liability for delay or failure to provide or arrange for services on account of such events.

    5.    Members or applicants for membership shall complete and submit to Yale Health such enrollment
          forms, medical review questionnaires, or other forms or statements as Yale Health may
          reasonably request. Members or applicants warrant that the information contained therein shall be
          true, correct, and complete, and all rights to coverage and services hereunder are subject to that
          condition.

    6.    Yale Health may adopt reasonable policies, procedures, rules, and interpretations to promote the
          orderly and efficient administration of the policies and coverage plans described in this student
          handbook.

    7.   The Yale Health membership card issued to each member is for identification purposes only and
         does not in and of itself confer any rights to any of the services described in this student
         handbook.

    8.   The headings of various sections of this student handbook are inserted merely for the purpose of
         convenience and do not (expressly or implicitly) limit, define, or extend the specific terms of the
         section so designated.

    9 . If it is determined that a student, spouse, civil union partner, or dependent child was ineligible for
        membership, the student will be billed for all services rendered or claims paid by Yale Health on
        their behalf, and fees paid will not be refunded.

Notice of Privacy Practices (NOPPJ

As part of our compliance with federal regulations, as well as our long-standing commitment to patient
confidentiality, Yale Health Center has available for all our patients a Notice of Privacy Practices
(NOPP). This notice describes how medical information about you may be used and disclosed and how
you can get access to this information. Please review it carefully. If you have any questions, please
contact our privacy office in writing or call Member Services (203-432-0246).

Who has to abide by these privacy practices
The Yale Health Center provides health care to our patients in partnership with other professionals and
organizations. The following individuals will abide by the privacy practices in this notice:

    •    Any healthcare professional who treats you at Yale Health Center.

    •    All members of the Yale Health Center work force, including employees, medical staff, trainees,
         students, and volunteers.




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Our pledge to you
We understand that medical information about you is personal and we are committed to protecting that
information. Your medical record is created as part of providing you with quality care, as well as for the
purpose of meeting legal requirements. This notice applies to all the records of your care generated or
maintained by Yale Health Center. We are required by law to:

    •    keep medical information about you private;

    •   give you this notice of our legal duties and privacy practices with respect to medical information
        about you; and

    •   follow the terms of the privacy practice notice that is currently in effect.

How we may use and disclose your medical information
We may use and disclose medical information about you without your prior authorization for treatment,
such as sending medical information about you to a specialist as part of a referral (this includes
psychiatric or HIV information if needed for purposes of your diagnosis and treatment); to obtain
payment for treatment, such as sending billing information to your insurance company or Medicare (note:
only limited psychiatric or HIV information may be disclosed without your authorization for billing
purposes); and to support our healthcare operations (such as comparing patient data to improve treatment
methods).

Other examples of such uses and disclosures include: contacting you for appointment reminders, or to
inform you about possible treatment options and health-related benefits or services that may be of interest
to you.

We may use or disclose medical information about you without your prior authorization for several other
reasons. Subject to certain requirements, we may communicate medical information about you, without
your prior authorization, for the following: public health purposes; abuse or neglect reporting; health
oversight audits or inspections; to fulfill a request from a medical examiner; funeral arrangements and
organ donations; workers' compensation claims; emergencies; national security needs and other
specialized government functions; and for members of the Anned Forces as required by Military
Command authorities. We also disclose medical information when required by law, such as in response to
a request from law enforcement in specific circumstances, or in response to valid judicial or
administrative orders.

The Inpatient Care Department has procedures which protect patient privacy while allowing for
information to be given to those whom the patient designates. Patients are informed of these procedures
upon their admission to the Inpatient Care Department.

We may use or disclose information about you without your authorization as part of a "limited data set"
which includes limited information (such as your city or a visit date, but not your name or address), but
only for certain healthcare operations, public health and research purposes. The recipient of the
information must sign a promise to restrict how the limited data set is used.




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Under certain circumstances, we may use and disclose health information about you for research
purposes, subject to an approval process. We may also allow potential researchers to review information
that may help them prepare for research, so long as the information they review does not leave our facility
and they agree to specific privacy protections.

We may disclose medical information about you to a friend or family member whom you designate. We
may also disclose medical information to a friend or family member if a practitioner determines it is
appropriate under the circumstances, unless you inform us otherwise. We may also disclose information
to disaster relief authorities so that your family can be notified of your location and condition.

Other uses of medical information
In any other situation not covered by this notice, we will ask for your written authorization before using
or disclosing medical information about you. If you choose to authorize use or disclosure, you can later
revoke that authorization by writing to:

Manager of Health Information Services/ Yale Health Center/ 55 Lock Street I Box 208237 / New
Haven, CT 06520-8237

Your rights regarding your medical record
In most cases, you have the right to look at or get a copy of medical information that we use to make
decisions about your care. To do so, you must submit a written request to the address below. We may
charge a fee for the cost of copying, mailing, or related supplies. If we deny your request to review or
obtain a copy, you may submit a written request for a review of that decision to:

Manager of Health Information Services/ Yale Health Center/ 55 Lock Street I Box 208237 / New
Haven, CT 06520-8237

If you believe that information in your record is incorrect or incomplete, you have the right to request that
we correct the records. Please send a written request to the address below, providing your reason for
requesting the amendment. We may deny your request if the information was not created by us; if it is not
part of the medical information maintained by us; or if we determine that your record is accurate; or under
certain other circumstances. You may submit a written statement of disagreement with a decision by us
not to amend a record to:

Manager of Health Information Services/ Yale Health Center/ 55 Lock Street I Box 208237 / New
Haven, CT 06520-8237

You have the right to know when your medical information has been released
You have the right to request a list of disclosures we have made of your health information. The list will
not include: (1) disclosures made for treatment, payment, and healthcare operations, as previously
described; or (2) disclosures made in circumstances where you have given specific and separate
authorization or (3) certain other disclosures in accordance with the law.

Please note that this policy is effective as of April 14, 2003. You must indicate the time period for which
you request the list of disclosures, which can be up to six years prior to the date of your request.


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Disclosure lists will be kept for a rolling period of six years. Requests can be made for any time within
that six year period and must be submitted in writing to:

Manager of Health Information Services/ Yale Health Center I 55 Lock Street I Box 208237 / New
Haven, CT 06520-8237




You have the right to request confidential communications
You have the right to request that medical information about you be communicated to you in a
confidential manner, such as sending mail to an address other than your home. You may notify us of how
you would like us to communicate with you by writing to:

Member Services Department/ Yale Health Center I 55 Lock Street I Box 208237 I New Haven, CT
06520-8237

You have the right to request restrictions on the use ofyour medical information
You may make a written request to restrict our use or disclosure of medical information about you. You
may make the following request: that we not use or disclose information for treatment, payment or
healthcare operations or to persons involved in your care except when ( 1) specifically authorized by you;
(2) when we are required by law to disclose the information; or (3) in an emergency. We will consider
your request but we are not legally required to accept it. We will inform you of our decision. All written
requests or appeals should be submitted to:

Deputy Privacy Officer/ Yale Health Center/ 55 Lock Street/ Box 208237 I New Haven, CT 06520-
8237

You have the right to request a paper copy of this notice
You may receive a paper copy of this notice upon request even if you have previously agreed to receive
this notice electronically.

If we change our policies
If we change our policies, the changes will apply to medical information we already hold, as well as new
information generated after the change occurs. Before we make a significant change in our policies, we
will post the notice of the new policies in prominent areas and on our web site at yalehealth.yale.edu. You
can receive a copy of the current policy at any time even if you have previously agreed to receive this
notice electronically. Copies of the current notice will be available at all times at the facility. The
effective date is printed at the end of the notice.

To register a complaint
If you are concerned that your privacy rights may have been violated, or you disagree with a decision we
made about access to your records, you may contact our Privacy Office by writing to:

Deputy Privacy Officer/ Yale Health Center/ 55 Lock Street I Box 208237 I New Haven, CT 06520-
8237

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You may send a written complaint to the U.S. Department of Health and Human Services Office of Civil
Rights. Our Privacy Office can provide you the address.

You will not experience penalties or retaliation for filing a complaint.




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PATIENT RIGHTS & RESPONSIBILITIES

The following policies regarding the rights and responsibilities of patients have been adopted by
Yale Health.

Yale Health will ensure that each patient:
    1.    Is fully informed of these rights and of all rules and regulations governing patient conduct and
          responsibilities.

    2.    Has the right to receive the best care Yale Health can offer for his/her health needs, concerns,
          illnesses, and injuries.

    3.    Is treated with consideration, respect, dignity, and individuality including privacy in treatment
          and care for his/her needs.

    4.    Has the right to expect that his/her personal convictions and beliefs, when expressed, will be
          considered when seeking and receiving services and when decisions are made by Yale Health
          clinicians regarding his/her care.

    5.   Has the right to agree with or refuse any healthcare service and to be informed of the medical
         consequences of refusing a service.

   6.    Is fully informed, as evidenced by his/her consent, about diagnostic or treatment procedures as
         appropriate.

   7.    Will know the identity and professional status of his/her clinical care team and be able to select
         his/her own primary care clinician from the panel of Yale Health primary care clinicians to the
         extent possible.

   8.    Has the right to have his/her privacy respected.

   9.    Is assured that his/her medical records will be kept confidential and that access to information
         about his/her health will be limited to those legitimately involved in his/her care, in accordance
         with Yale Health's Notice of Privacy Practices.

    10. Is fully informed, by an authorized clinician, of his/her medical condition unless medically
        contraindicated ( as documented by a clinician in the medical record) and is afforded the
        opportunity to participate in the planning of medical treatment.

    11. Is entitled to receive an appropriate assessment of his/her health and reasonable management of
        pam.

    12. Is assured confidential treatment of his/her personal and medical records and may approve or
        refuse their release to any individual outside the facility except in the case of his/her transfer to
        another healthcare institution or as required by law or third party payment contract.



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    13. Has the right to review his/her medical record, except when restricted by law, and to have the
        information explained or interpreted as necessary.

    14. Is fully informed of any clinical research related to his/her condition, and has the right to refuse
        participation in any clinical research without jeopardizing his/her access to medical care and
        treatment.

    15. Is fully informed of Yale Health resources for resolving disputes, grievances, and conflicts.

    16. Is fully informed of services available and related charges including any charges for services not
        covered by his/her membership in Yale Health, and has the right to request an itemized bill and to
        have the charges explained.

    17. Is entitled to have an advance directive, such as a living will, healthcare proxy, or durable power
        of attorney for health care, concerning health care decisions, and to have the advance directive
        honored to the extent permitted by law.

    18. Is fully informed of the existence of business relationships between Yale Health and other
        healthcare providers or commercial entities that might significantly influence his/her treatment
        and care.

All rights and responsibilities specified in paragraphs numbered 1 through 18 particularly as they pertain
to a patient adjudicated incompetent in accordance with state law or a patient who is found, by his/her
clinician, to be medically incapable of understanding these rights or a patient who exhibits a
communications barrier devolve to and are binding on such patient's guardian, next of kin, sponsoring
agency, or representative payee (except when the facility itself is representative payee).

The aforementioned rights are for patients of Yale Health without regard to sex, race, color, religion, age,
disability, national or ethnic origin, sexual orientation or gender identity or expression.

The responsibilities of patients of Yale Health include:
Providing information. Patients must provide to the best of their knowledge, accurate and complete
information about present complaints, past illnesses, hospitalizations, medications, pain, and other matters
relating to their health, such as documentation of advance directives or changes to such directives.
Patients must report perceived risks in their care and unexpected changes in their health. They can help
Yale Health understand their status by providing feedback about service needs and expectations.

Asking questions. Patients must ask questions when they do not understand their care, treatment,
services, or what they are expected to do.

Following instructions. Patients must follow the plan of care developed. They should express any
concerns about their ability to follow the proposed care plan or course of care, treatment, and services.

Accepting consequences. Patients must recognize the effects of lifestyle choices on their health and take
reasonable steps to remain healthy.

Following rules and regulations. Patients must follow Yale Health's rules and regulations.


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